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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MONTANA
                             MISSOULA DIVISION


UNITED STATES OF AMERICA,                             CR20-31-M-DWM

                Plaintiff,

          vs.                                                ORDER

ANDREW LEROY MOOSMAN,

                Defendant.


      THIS matter comes before the Court on the United States' Motion for

Preliminary Order of Forfeiture. (Doc. 25.) Defendant Andrew Leroy Moosman

appeared before the Court on September 30, 2020 and entered a plea of guilty to

the indictment. (See Doc. 24.) He also admitted the forfeiture allegation.

Moosman' s plea provides a factual basis and cause to issue an order of forfeiture,

pursuant to 18 U.S.C. § 924(d).

      IT IS ORDERED:

      THAT the United States' motion (Doc. 25) is GRANTED. Defendant

Moosman's interest in the following property is forfeited to the United States in

accordance with 18 U.S.C. § 924(d):

      •         Marlin Firearms Glenfield .22 Cal. Rifle with scope and sling; and

      •         3 8 rounds .22 Cal. Ammunition.

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      THAT the United States Marshal's Service, the Federal Bureau of

Investigation, and/or a designated sub-custodian, are directed to seize the property

subject to forfeiture and further to make a return as provided by law;

      THAT the United States will provide written notice to all third parties

asserting a legal interest in any of the above-described property and will post on an

official government internet site (www.forfeiture.gov) for at least 30 consecutive

days as required by Rule G(4)(a)(iv)(C) of the Supplemental Rules for Admiralty

or Maritime Claims and Asset Forfeiture Actions, of the Court's Preliminary Order

and the United States' intent to dispose of the property in such manner as the

Attorney General may direct, pursuant to 18 U.S.C. § 924(d) and 21 U.S.C.

§ 853(n)(l), and to make its return to this Court that such action has been

completed;

      THAT upon adjudication of all third-party interests, if any, the Court will

enter a Final Order of Forfeiture.

      DATED this    n J-   day of October, 2020.




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